Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 1 of 143 Page ID
                                 #:103132
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 2 of 143 Page ID
                                 #:103133
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 3 of 143 Page ID
                                 #:103134
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 4 of 143 Page ID
                                 #:103135
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 5 of 143 Page ID
                                 #:103136
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 6 of 143 Page ID
                                 #:103137
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 7 of 143 Page ID
                                 #:103138
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 8 of 143 Page ID
                                 #:103139
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 9 of 143 Page ID
                                 #:103140
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 10 of 143 Page ID
                                  #:103141
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 11 of 143 Page ID
                                  #:103142
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 12 of 143 Page ID
                                  #:103143
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 13 of 143 Page ID
                                  #:103144
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 14 of 143 Page ID
                                  #:103145
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 15 of 143 Page ID
                                  #:103146
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 16 of 143 Page ID
                                  #:103147
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 17 of 143 Page ID
                                  #:103148
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 18 of 143 Page ID
                                  #:103149
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 19 of 143 Page ID
                                  #:103150
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 20 of 143 Page ID
                                  #:103151
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 21 of 143 Page ID
                                  #:103152
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 22 of 143 Page ID
                                  #:103153
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 23 of 143 Page ID
                                  #:103154
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 24 of 143 Page ID
                                  #:103155
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 25 of 143 Page ID
                                  #:103156
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 26 of 143 Page ID
                                  #:103157
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 27 of 143 Page ID
                                  #:103158
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 28 of 143 Page ID
                                  #:103159
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 29 of 143 Page ID
                                  #:103160
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 30 of 143 Page ID
                                  #:103161
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 31 of 143 Page ID
                                  #:103162
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 32 of 143 Page ID
                                  #:103163
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 33 of 143 Page ID
                                  #:103164
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 34 of 143 Page ID
                                  #:103165
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 35 of 143 Page ID
                                  #:103166
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 36 of 143 Page ID
                                  #:103167
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 37 of 143 Page ID
                                  #:103168
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 38 of 143 Page ID
                                  #:103169
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 39 of 143 Page ID
                                  #:103170
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 40 of 143 Page ID
                                  #:103171
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 41 of 143 Page ID
                                  #:103172
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 42 of 143 Page ID
                                  #:103173
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 43 of 143 Page ID
                                  #:103174
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 44 of 143 Page ID
                                  #:103175
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 45 of 143 Page ID
                                  #:103176
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 46 of 143 Page ID
                                  #:103177
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 47 of 143 Page ID
                                  #:103178
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 48 of 143 Page ID
                                  #:103179
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 49 of 143 Page ID
                                  #:103180
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 50 of 143 Page ID
                                  #:103181
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 51 of 143 Page ID
                                  #:103182
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 52 of 143 Page ID
                                  #:103183
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 53 of 143 Page ID
                                  #:103184
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 54 of 143 Page ID
                                  #:103185
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 55 of 143 Page ID
                                  #:103186
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 56 of 143 Page ID
                                  #:103187
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 57 of 143 Page ID
                                  #:103188
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 58 of 143 Page ID
                                  #:103189
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 59 of 143 Page ID
                                  #:103190
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 60 of 143 Page ID
                                  #:103191
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 61 of 143 Page ID
                                  #:103192
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 62 of 143 Page ID
                                  #:103193
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 63 of 143 Page ID
                                  #:103194
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 64 of 143 Page ID
                                  #:103195
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 65 of 143 Page ID
                                  #:103196
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 66 of 143 Page ID
                                  #:103197
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 67 of 143 Page ID
                                  #:103198
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 68 of 143 Page ID
                                  #:103199
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 69 of 143 Page ID
                                  #:103200
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 70 of 143 Page ID
                                  #:103201
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 71 of 143 Page ID
                                  #:103202
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 72 of 143 Page ID
                                  #:103203
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 73 of 143 Page ID
                                  #:103204
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 74 of 143 Page ID
                                  #:103205
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 75 of 143 Page ID
                                  #:103206
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 76 of 143 Page ID
                                  #:103207
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 77 of 143 Page ID
                                  #:103208
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 78 of 143 Page ID
                                  #:103209
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 79 of 143 Page ID
                                  #:103210
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 80 of 143 Page ID
                                  #:103211
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 81 of 143 Page ID
                                  #:103212
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 82 of 143 Page ID
                                  #:103213
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 83 of 143 Page ID
                                  #:103214
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 84 of 143 Page ID
                                  #:103215
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 85 of 143 Page ID
                                  #:103216
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 86 of 143 Page ID
                                  #:103217
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 87 of 143 Page ID
                                  #:103218
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 88 of 143 Page ID
                                  #:103219
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 89 of 143 Page ID
                                  #:103220
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 90 of 143 Page ID
                                  #:103221
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 91 of 143 Page ID
                                  #:103222
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 92 of 143 Page ID
                                  #:103223
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 93 of 143 Page ID
                                  #:103224
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 94 of 143 Page ID
                                  #:103225
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 95 of 143 Page ID
                                  #:103226
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 96 of 143 Page ID
                                  #:103227
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 97 of 143 Page ID
                                  #:103228
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 98 of 143 Page ID
                                  #:103229
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 99 of 143 Page ID
                                  #:103230
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 100 of 143 Page ID
                                  #:103231
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 101 of 143 Page ID
                                  #:103232
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 102 of 143 Page ID
                                  #:103233
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 103 of 143 Page ID
                                  #:103234
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 104 of 143 Page ID
                                  #:103235
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 105 of 143 Page ID
                                  #:103236
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 106 of 143 Page ID
                                  #:103237
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 107 of 143 Page ID
                                  #:103238
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 108 of 143 Page ID
                                  #:103239
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 109 of 143 Page ID
                                  #:103240
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 110 of 143 Page ID
                                  #:103241
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 111 of 143 Page ID
                                  #:103242
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 112 of 143 Page ID
                                  #:103243
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 113 of 143 Page ID
                                  #:103244
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 114 of 143 Page ID
                                  #:103245
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 115 of 143 Page ID
                                  #:103246
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 116 of 143 Page ID
                                  #:103247
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 117 of 143 Page ID
                                  #:103248
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 118 of 143 Page ID
                                  #:103249
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 119 of 143 Page ID
                                  #:103250
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 120 of 143 Page ID
                                  #:103251
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 121 of 143 Page ID
                                  #:103252
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 122 of 143 Page ID
                                  #:103253
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 123 of 143 Page ID
                                  #:103254
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 124 of 143 Page ID
                                  #:103255
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 125 of 143 Page ID
                                  #:103256
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 126 of 143 Page ID
                                  #:103257
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 127 of 143 Page ID
                                  #:103258
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 128 of 143 Page ID
                                  #:103259
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 129 of 143 Page ID
                                  #:103260
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 130 of 143 Page ID
                                  #:103261
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 131 of 143 Page ID
                                  #:103262
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 132 of 143 Page ID
                                  #:103263
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 133 of 143 Page ID
                                  #:103264
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 134 of 143 Page ID
                                  #:103265
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 135 of 143 Page ID
                                  #:103266
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 136 of 143 Page ID
                                  #:103267
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 137 of 143 Page ID
                                  #:103268
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 138 of 143 Page ID
                                  #:103269
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 139 of 143 Page ID
                                  #:103270
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 140 of 143 Page ID
                                  #:103271
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 141 of 143 Page ID
                                  #:103272
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 142 of 143 Page ID
                                  #:103273
Case 2:04-cv-09049-DOC-RNB Document 4133-2 Filed 07/18/08 Page 143 of 143 Page ID
                                  #:103274
